                         Case 8-18-73757-reg                                 Doc 18            Filed 07/17/18                Entered 07/17/18 12:25:38


 Fill in this information to identify your case and this filing:

 Debtor 1                    Elyse B. Possick
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF NEW YORK

 Case number            8-18-73757                                                                                                                                Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1052 New McNeil Avenue                                                         Single-family home                          Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                         the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
        Lawrence                          NY        11559-0000                         Land                                        entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                             $1,075,000.00               $1,075,000.00
                                                                                       Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                       Other                                       (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.
                                                                                       Debtor 1 only
        Nassau                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Value per appraisal conducted by Robert A. Brokate and Associates, Inc.
                                                                                on February 29 2016. Zillow estimate $


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                     $1,075,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes



Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
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 Debtor 1       Elyse B. Possick                                                                                    Case number (if known)      8-18-73757
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                      $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    2 Televisions                                                                                                                   $400.00


                                    Kitchen pots and pans                                                                                                           $150.00


                                    Microwave                                                                                                                         $50.00


                                    Kitchen table, 6 chairs, ottoman, sofa, 4 beds, 4 dressers and
                                    household linens                                                                                                                $700.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    2 Shabbat Candles                                                                                                               $150.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
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 Debtor 1          Elyse B. Possick                                                                                             Case number (if known)   8-18-73757


                                            Everyday Clothing                                                                                                                $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            2 Gold rings, 1 Gold necklace, 1 Watch                                                                                           $450.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                $2,100.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                          Checking account
                                              17.1.       ending in 1404                          Citibank                                                                   $982.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                               % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:


Official Form 106A/B                                                                       Schedule A/B: Property                                                                page 3
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 Debtor 1         Elyse B. Possick                                                                              Case number (if known)    8-18-73757
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                             Surrender or refund
                                                                                                                                              value:



Official Form 106A/B                                                   Schedule A/B: Property                                                                     page 4
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 Debtor 1         Elyse B. Possick                                                                                                      Case number (if known)   8-18-73757
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                     $982.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                           $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................             $1,075,000.00
 56. Part 2: Total vehicles, line 5                                                                                 $0.00
 57. Part 3: Total personal and household items, line 15                                                        $2,100.00
 58. Part 4: Total financial assets, line 36                                                                      $982.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $3,082.00             Copy personal property total                 $3,082.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,078,082.00

Official Form 106A/B                                                               Schedule A/B: Property                                                                                page 5
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 Fill in this information to identify your case:

 Debtor 1                Elyse B. Possick
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           8-18-73757
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1052 New McNeil Avenue Lawrence,                               $1,075,000.00                            $170,825.00      NYCPLR § 5206
      NY 11559 Nassau County.
      Value per appraisal from February                                                    100% of fair market value, up to
      2016 conducted by Robert A. Brokate                                                  any applicable statutory limit
      and Associates Inc.
      Line from Schedule A/B: 1.1

      2 Televisions                                                       $400.00                                  $400.00     NYCPLR § 5205(a)(5)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Kitchen pots and pans                                               $150.00                                  $150.00     NYCPLR § 5205(a)(5)
      Line from Schedule A/B: 6.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Microwave                                                            $50.00                                   $50.00     NYCPLR § 5205(a)(5)
      Line from Schedule A/B: 6.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Kitchen table, 6 chairs, ottoman,                                   $700.00                                  $700.00     NYCPLR § 5205(a)(5)
      sofa, 4 beds, 4 dressers and
      household linens                                                                     100% of fair market value, up to
      Line from Schedule A/B: 6.4                                                          any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Elyse B. Possick                                                                            Case number (if known)     8-18-73757
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2 Shabbat Candles                                                   $150.00                                   $150.00        NYCPLR § 5205(a)(2)
     Line from Schedule A/B: 8.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Everyday Clothing                                                   $200.00                                   $200.00        NYCPLR § 5205(a)(5)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 Gold rings, 1 Gold necklace, 1                                    $450.00                                   $450.00        NYCPLR § 5205(a)(6)
     Watch
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking account ending in 1404:                                    $982.00                                   $982.00        NYCPLR § 5205(a)(9)
     Citibank
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Elyse B. Possick
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           8-18-73757
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bank of America                          Describe the property that secures the claim:             $1,160,000.00            $1,075,000.00            $85,000.00
         Creditor's Name                          1052 New McNeil Avenue Lawrence,
                                                  NY 11559 Nassau County.
                                                  Value per appraisal from February
                                                  2016 conducted by Robert A.
                                                  Brokate and Associates Inc.
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 31785                           apply.
         Tampa, FL 33631-3785                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          12/29/2009                Last 4 digits of account number        1166

 2.2     FIA Card Services, N.A.                  Describe the property that secures the claim:                 $21,210.00           $1,075,000.00            $21,210.00
         Creditor's Name                          1052 New McNeil Avenue Lawrence,
                                                  NY 11559 Nassau County.
                                                  Value per appraisal from February
         a/o Cavalry SPV                          2016 conducted by Robert A.
         P.O. BOX 15646                           Brokate and Associates Inc.
                                                  As of the date you file, the claim is: Check all that
         Wilmington, DE                           apply.
         19850-5646                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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 Debtor 1 Elyse B. Possick                                                                                    Case number (if know)   8-18-73757
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          3/8/2011                    Last 4 digits of account number         9059

         LHRD Rehabiliation
 2.3                                                Describe the property that secures the claim:                   $41,700.00        $1,075,000.00     $41,700.00
         HUDD
         Creditor's Name                            1052 New McNeil Avenue Lawrence,
                                                    NY 11559 Nassau County.
                                                    Value per appraisal from February
                                                    2016 conducted by Robert A.
         40 Main Street                             Brokate and Associates Inc.
                                                    As of the date you file, the claim is: Check all that
         3rd Floor                                  apply.
         Hempstead, NY 11550                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          10/25/2011                  Last 4 digits of account number         ot33

 2.4     Midland Funding LLC                        Describe the property that secures the claim:                       $826.00       $1,075,000.00          $826.00
         Creditor's Name                            1052 New McNeil Avenue Lawrence,
                                                    NY 11559 Nassau County.
                                                    Value per appraisal from February
         DBA Midland Funding of                     2016 conducted by Robert A.
         DE                                         Brokate and Associates Inc.
                                                    As of the date you file, the claim is: Check all that
         8875 Aero Drive #200                       apply.
         San Diego, CA 92123                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          10/11/2012                  Last 4 digits of account number         9643

         Tax Correction Agency,
 2.5                                                                                                                    $462.00       $1,075,000.00          $462.00
         In                                         Describe the property that secures the claim:
         Creditor's Name                            1052 New McNeil Avenue Lawrence,
                                                    NY 11559 Nassau County.
                                                    Value per appraisal from February
                                                    2016 conducted by Robert A.
         50 Trade Zone Court                        Brokate and Associates Inc.
                                                    As of the date you file, the claim is: Check all that
         Ronkonkoma, NY                             apply.
         11779-7369                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 4
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 Debtor 1 Elyse B. Possick                                                                                    Case number (if know)         8-18-73757
               First Name                  Middle Name                      Last Name


 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          1/8/2015                    Last 4 digits of account number         3092

 2.6     Third Federal Savings &                    Describe the property that secures the claim:                   $195,240.46             $1,075,000.00          $195,240.46
         Creditor's Name                            1052 New McNeil Avenue Lawrence,
                                                    NY 11559 Nassau County.
                                                    Value per appraisal from February
                                                    2016 conducted by Robert A.
         Loan Association                           Brokate and Associates Inc.
                                                    As of the date you file, the claim is: Check all that
         7007 Broadway Avenue                       apply.
         Cleveland, OH 44105                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          10/19/2017                  Last 4 digits of account number         4437


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,419,438.46
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $1,419,438.46

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          David Fink, LLP
          28 East Main Street                                                                         Last 4 digits of account number   5809
          Suite 1700
          Rochester, NY 14614

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.6
          Fein Such & Crane, LLP
          1400 Old Country Road                                                                       Last 4 digits of account number   4116
          Suite C103
          Westbury, NY 11590

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          Nassau County Offices of
          Housing and Community Dev                                                                   Last 4 digits of account number   ot33
          26 Federal Plaza #3541
          New York, NY 10278


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 3 of 4
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                      Case 8-18-73757-reg                            Doc 18     Filed 07/17/18        Entered 07/17/18 12:25:38


 Debtor 1 Elyse B. Possick                                                                     Case number (if know)          8-18-73757
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                    On which line in Part 1 did you enter the creditor?   2.4
        Pressler & Pressler
        305 Broadway                                                                    Last 4 digits of account number   7874
        9th floor
        New York, NY 10007

        Name, Number, Street, City, State & Zip Code                                    On which line in Part 1 did you enter the creditor?   2.2
        Sharinn & Lipshie, PC
        333 Earl Ovington Blvd                                                          Last 4 digits of account number   5760
        Uniondale, NY 11553

        Name, Number, Street, City, State & Zip Code                                    On which line in Part 1 did you enter the creditor?   2.5
        Stern & Stern, PC
        3002 Merrick Road                                                               Last 4 digits of account number   8490
        Bellmore, NY 11710

        Name, Number, Street, City, State & Zip Code                                    On which line in Part 1 did you enter the creditor?   2.1
        Steven Baum, PC
        Attorneys for Plaintiff                                                         Last 4 digits of account number   5809
        220 Northpointe Parkway
        suite G
        Buffalo, NY 14228




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 4 of 4
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                        Case 8-18-73757-reg                          Doc 18            Filed 07/17/18               Entered 07/17/18 12:25:38


 Fill in this information to identify your case:

 Debtor 1                     Elyse B. Possick
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF NEW YORK

 Case number           8-18-73757
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          NYS Dept Tax & Finance                                 Last 4 digits of account number       0671               $2,445.49               $0.00           $2,445.49
              Priority Creditor's Name
              W A Harriman Campus                                    When was the debt incurred?           6/13/2018
              Albany, NY 12227-0171
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        1052 New McNeil Avenue Lawrence, NY 11559
                                                                                         Nassau County
                                                                                         Value per appraisal from 2017




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 7
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                        Case 8-18-73757-reg                          Doc 18            Filed 07/17/18              Entered 07/17/18 12:25:38

 Debtor 1 Elyse B. Possick                                                                                   Case number (if know)           8-18-73757

 2.2        NYS Dept Tax & Finance                                   Last 4 digits of account number     2010                   $692.50                $692.50                   $0.00
            Priority Creditor's Name
            W A Harriman Campus                                      When was the debt incurred?         7/16/2010
            Albany, NY 12227-0171
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            1052 New McNeil Avenue Lawrence, NY 11559
                                                                                           Nassau County

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Boulevard Riverside Chape                                  Last 4 digits of account number        4930                                                        $6,606.75
            Nonpriority Creditor's Name
            1450 Broadway                                              When was the debt incurred?            11/2015
            Hewlett, NY 11557
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Services Render




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 7
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 Debtor 1 Elyse B. Possick                                                                                 Case number (if know)         8-18-73757

 4.2      Cap1/saks                                                   Last 4 digits of account number       2552                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                            Opened 12/04 Last Active
          3455 Highway 80 W                                           When was the debt incurred?           2/07/08
          Jackson, MS 39209
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.3      Capitol One Bank                                            Last 4 digits of account number       0611                                             $4,032.37
          Nonpriority Creditor's Name
          P.O. Box 71083                                              When was the debt incurred?
          Charlotte, NC 28272-1083
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases


 4.4      CB/Talbots                                                  Last 4 digits of account number       1091                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                            Opened 4/07/16 Last Active
          P.O. Box 182789                                             When was the debt incurred?           5/11/16
          Columbus, OH 43218
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 7
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 Debtor 1 Elyse B. Possick                                                                                 Case number (if know)         8-18-73757

 4.5      Chase Washington                                            Last 4 digits of account number       1519                                             $8,539.76
          Nonpriority Creditor's Name
          Mutal                                                       When was the debt incurred?
          1251 6th Ave
          New York, NY 10020
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases


 4.6      Citi Bank Credit Card                                       Last 4 digits of account number       1399                                           $37,809.89
          Nonpriority Creditor's Name
          701 East 60th Street Nort                                   When was the debt incurred?
          Sioux Falls, SD 57104
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases


 4.7      Comenity Bank/Talbots                                       Last 4 digits of account number       2449                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                            Opened 04/16 Last Active
          P.O. Box 182789                                             When was the debt incurred?           5/11/16
          Columbus, OH 43218
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 7
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 Debtor 1 Elyse B. Possick                                                                                 Case number (if know)         8-18-73757

 4.8      Comenitycb/JJill                                            Last 4 digits of account number       5938                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                            Opened 04/13 Last Active
          P.O. Box 182120                                             When was the debt incurred?           7/27/17
          Columbus, OH 43218
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.9      National Grid                                               Last 4 digits of account number       8007                                             $8,251.85
          Nonpriority Creditor's Name
          2400 Sunrise Highway                                        When was the debt incurred?
          Bellmore, NY 11710
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Utilities


 4.1
 0        PSEG                                                        Last 4 digits of account number       3902                                           $49,068.80
          Nonpriority Creditor's Name
          333 Earle Ovington Blvd                                     When was the debt incurred?
          Uniondale, NY 11553
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Utilities




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 7
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 Debtor 1 Elyse B. Possick                                                                                 Case number (if know)         8-18-73757

 4.1
 1         Syncb/Gap                                                  Last 4 digits of account number       2607                                                           $0.00
           Nonpriority Creditor's Name
                                                                                                            Opened 06/05 Last Active
           P.O. Box 965005                                            When was the debt incurred?           7/11/05
           Orlando, FL 32896
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.1
 2         Syncb/Lord & Taylor                                        Last 4 digits of account number       7755                                                           $0.00
           Nonpriority Creditor's Name
                                                                                                            Opened 02/06 Last Active
           P.O. Box 965015                                            When was the debt incurred?           6/07/06
           Orlando, FL 32896
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cavalry SPV I, LLV                                            Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 27288                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Tempe, AZ 85285-7288
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Receivable                                             Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Solutions                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 2703 N Hwy 75
 Sherman, TX 75090
                                                               Last 4 digits of account number                  5762

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Funding LLC                                           Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 DBA Midland Funding of DE                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 8875 Aero Drive #200
 San Diego, CA 92123
                                                               Last 4 digits of account number                  7021


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 6 of 7
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 Debtor 1 Elyse B. Possick                                                                                Case number (if know)          8-18-73757
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northland Group Inc.                                          Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 155 Mid Atlantic Pkwy                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Paulsboro, NJ 08066
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery                                            Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Services                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 1330 6th Ave
 New York, NY 10019
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     3,137.99
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     3,137.99

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  114,309.42

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  114,309.42




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 7 of 7
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                        Case 8-18-73757-reg                          Doc 18            Filed 07/17/18       Entered 07/17/18 12:25:38


 Fill in this information to identify your case:

 Debtor 1                  Elyse B. Possick
                           First Name                         Middle Name                   Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name                   Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF NEW YORK

 Case number           8-18-73757
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                           State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                         Case 8-18-73757-reg                          Doc 18   Filed 07/17/18     Entered 07/17/18 12:25:38


 Fill in this information to identify your case:

 Debtor 1                   Elyse B. Possick
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF NEW YORK

 Case number           8-18-73757
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Arnold Possick                                                                         Schedule D, line   2.2
                1052 New McNeil Avenue                                                                 Schedule E/F, line
                Lawrence, NY 11559
                                                                                                      Schedule G
                                                                                                    FIA Card Services, N.A.



    3.2         Arnold Possick                                                                        Schedule D, line   2.5
                1052 New McNeil Avenue                                                                Schedule E/F, line
                Lawrence, NY 11559
                                                                                                      Schedule G
                                                                                                    Tax Correction Agency, In



    3.3         Arnold Possick                                                                        Schedule D, line   2.1
                1052 New McNeil Avenue                                                                Schedule E/F, line
                Lawrence, NY 11559
                                                                                                      Schedule G
                                                                                                    Bank of America




Official Form 106H                                                              Schedule H: Your Codebtors                                   Page 1 of 2
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 Debtor 1 Elyse B. Possick                                                                     Case number (if known)   8-18-73757


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                                                                                                    Check all schedules that apply:
    3.4      Arnold Possick                                                                           Schedule D, line   2.6
             1052 New McNeil Avenue                                                                   Schedule E/F, line
             Lawrence, NY 11559
                                                                                                      Schedule G
                                                                                                    Third Federal Savings &



    3.5      Arnold Possick                                                                           Schedule D, line   2.3
             1052 New McNeil Avenue                                                                   Schedule E/F, line
             Lawrence, NY 11559
                                                                                                      Schedule G
                                                                                                    LHRD Rehabiliation HUDD




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 2 of 2
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Fill in this information to identify your case:

Debtor 1                      Elyse B. Possick

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF NEW YORK

Case number               8-18-73757                                                                     Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Elyse B. Possick                                                                      Case number (if known)    8-18-73757


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
      5e.    Insurance                                                                     5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
      5g.    Union dues                                                                    5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $               N/A
      8d. Unemployment compensation                                                        8d.        $          0.00         $               N/A
      8e. Social Security                                                                  8e.        $        950.00         $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:    SNAP                                                              8f.  $              194.00   $                     N/A
      8g. Pension or retirement income                                                     8g. $                 0.00   $                     N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                     N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,144.00         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              1,144.00 + $             N/A = $          1,144.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $         1,144.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 Elyse B. Possick                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NEW YORK                                               MM / DD / YYYY

Case number           8-18-73757
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Mother                               90                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Elyse B. Possick                                                                          Case number (if known)      8-18-73757

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                   0.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                650.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                135.00
10.   Personal care products and services                                                    10. $                                                 100.00
11.   Medical and dental expenses                                                            11. $                                                 125.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                   0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  80.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       1,140.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       1,140.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               1,144.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              1,140.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    4.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       Elyse B. Possick                                                                                 Case No.      8-18-73757
                                                                                   Debtor(s)                  Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,000.00
             Prior to the filing of this statement I have received                                        $                  3,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           David Possick, Debtors Son

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                              CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 17, 2018                                                                 /s/ Richard G. Gertler
     Date                                                                          Richard G. Gertler
                                                                                   Signature of Attorney
                                                                                   Gertler Law Group, LLC
                                                                                   90 Merrick Ave, Ste. 400
                                                                                   East Meadow, NY 11554
                                                                                   (516) 228-3553 Fax: (516) 228-3396
                                                                                   Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Elyse B. Possick                                                                                  Case No.   8-18-73757
                                                                                    Debtor(s)                 Chapter    13




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.


 Date: July 17, 2018                                                     /s/ Elyse B. Possick
                                                                         Elyse B. Possick
                                                                         Signature of Debtor

 Date: July 17, 2018                                                     /s/ Richard G. Gertler
                                                                         Signature of Attorney
                                                                         Richard G. Gertler
                                                                         Gertler Law Group, LLC
                                                                         90 Merrick Ave, Ste. 400
                                                                         East Meadow, NY 11554
                                                                         (516) 228-3553 Fax: (516) 228-3396




USBC-44                                                                                                                                Rev. 9/17/98


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                    Bank of America
                    P.O. Box 31785
                    Tampa, FL 33631-3785


                    Boulevard Riverside Chape
                    1450 Broadway
                    Hewlett, NY 11557


                    Cap1/saks
                    3455 Highway 80 W
                    Jackson, MS 39209


                    Capitol One Bank
                    P.O. Box 71083
                    Charlotte, NC 28272-1083


                    Cavalry SPV I, LLV
                    PO Box 27288
                    Tempe, AZ 85285-7288


                    CB/Talbots
                    P.O. Box 182789
                    Columbus, OH 43218


                    Chase Washington
                    Mutal
                    1251 6th Ave
                    New York, NY 10020


                    Citi Bank Credit Card
                    701 East 60th Street Nort
                    Sioux Falls, SD 57104


                    Comenity Bank/Talbots
                    P.O. Box 182789
                    Columbus, OH 43218


                    Comenitycb/JJill
                    P.O. Box 182120
                    Columbus, OH 43218


                    David Fink, LLP
                    28 East Main Street
                    Suite 1700
                    Rochester, NY 14614
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                Fein Such & Crane, LLP
                1400 Old Country Road
                Suite C103
                Westbury, NY 11590


                FIA Card Services, N.A.
                a/o Cavalry SPV
                P.O. BOX 15646
                Wilmington, DE 19850-5646


                Global Receivable
                Solutions
                2703 N Hwy 75
                Sherman, TX 75090


                LHRD Rehabiliation HUDD
                40 Main Street
                3rd Floor
                Hempstead, NY 11550


                Midland Funding LLC
                DBA Midland Funding of DE
                8875 Aero Drive #200
                San Diego, CA 92123


                Midland Funding LLC
                DBA Midland Funding of DE
                8875 Aero Drive #200
                San Diego, CA 92123


                Nassau County Offices of
                Housing and Community Dev
                26 Federal Plaza #3541
                New York, NY 10278


                National Grid
                2400 Sunrise Highway
                Bellmore, NY 11710


                Northland Group Inc.
                155 Mid Atlantic Pkwy
                Paulsboro, NJ 08066


                NYS Dept Tax & Finance
                W A Harriman Campus
                Albany, NY 12227-0171
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                NYS Dept Tax & Finance
                W A Harriman Campus
                Albany, NY 12227-0171


                Portfolio Recovery
                Services
                1330 6th Ave
                New York, NY 10019


                Pressler & Pressler
                305 Broadway
                9th floor
                New York, NY 10007


                PSEG
                333 Earle Ovington Blvd
                Uniondale, NY 11553


                Sharinn & Lipshie, PC
                333 Earl Ovington Blvd
                Uniondale, NY 11553


                Stern & Stern, PC
                3002 Merrick Road
                Bellmore, NY 11710


                Steven Baum, PC
                Attorneys for Plaintiff
                220 Northpointe Parkway
                suite G
                Buffalo, NY 14228


                Syncb/Gap
                P.O. Box 965005
                Orlando, FL 32896


                Syncb/Lord & Taylor
                P.O. Box 965015
                Orlando, FL 32896


                Tax Correction Agency, In
                50 Trade Zone Court
                Ronkonkoma, NY 11779-7369
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                Third Federal Savings &
                Loan Association
                7007 Broadway Avenue
                Cleveland, OH 44105
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Elyse Beth Possick                                                                                 Case No.   8-18-73757
                                                                                     Debtor(s)                 Chapter    13

                                                       AFFIDAVIT PURSUANT TO LOCAL RULE 1007-1(B)

               Elyse Beth Possick              , undersigned debtor herein, swears as follows:

1.          Debtor filed a petition under chapter                      13     of the Bankruptcy Code on    June 1, 2018    .

2.          Schedule(s) A/B, Schedule C, Schedule D, Schedule E/F, Schedule G, Schedule H, Schedule I, Schedule J, were
            not filed at the time of filing of the said petition, and is/are being filed herewith.

3.          [Check applicable box]:

                        The schedules filed herewith reflect no additions or corrections to, or deletions from, the list of creditors
                        which accompanied the petition.

                        Annexed hereto is a listing of names and addresses of scheduled creditors added to or deleted from the list
                        of creditors which accompanied the petition. Also listed, as applicable, are any scheduled creditors whose
                        previously listed names and/or addresses have been corrected. The nature of the change (addition,
                        deletion or correction) is indicated for each creditor listed.

4.          [If creditors have been added] An amended mailing matrix is annexed hereto, listing added creditors ONLY, in
            the format prescribed by Local Rule 1007-3.

Reminder: No amendment of schedules is effective until proof of service in accordance with EDNY LBR 1009-1(b) has
been filed with the Court.

Any additions to the list of creditors which accompanied the petition will be deemed an amendment to that list; if this
amendment is filed prior to the expiration of the time period set forth in Fed. R. Bankr. P. 4004 and 4007, it will be
deemed to constitute a motion for a 30-day extension of the time within which any added creditors may file a complaint to
object to the discharge of the debtor and/or to determine dischargeability. This motion will be deemed granted without a
hearing if no objection is filed with the Court and served on debtor within 10 days following filing of proof of service of
this affirmation, all attachments and the amended schedules in accordance with EDNY LRB 1009-1.

 Dated:           July 17, 2018

                                                                                      /s/ Elyse Beth Possick
                                                                                      Elyse Beth Possick
                                                                                      Debtor (signature)

 Sworn to before me this 17th
 day of   July                                              , 2018


 Notary Public, State of New York




Aff1007-1b.64                                                                                                                             Rev. 09/22/08

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